      Case 2:13-cr-00053-JAM Document 101 Filed 09/30/16 Page 1 of 2


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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     OMAR VERA
6
7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO OCTOBER 20,
12           v.                                     )   2016, AT 10:00 A.M.
                                                    )
13   OMAR VERA,                                     )   Date: September 29, 2016
                                                    )   Time: 10:00 a.m.
14                              Defendant.          )   Judge: Hon. Morrison C. England, Jr.
                                                    )
15                                                  )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for September 29, 2016, at 10:00 a.m., to October 20, 2016, at 10:00 a.m.
19             Defense counsel requires the continuance to consult with his client about discovery and a
20   proposed plea agreement, and to negotiate further with the government.
21             Counsel and the defendant agree that the Court should exclude the time from the date of
22   this order through October 20, 2016, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
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28

      Stipulation to Continue                           -1-                                       13-53 MCE
      Case 2:13-cr-00053-JAM Document 101 Filed 09/30/16 Page 2 of 2


1              Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3    DATED: September 28, 2016                       HEATHER E. WILLIAMS
                                                     Federal Defender
4
5                                                    /s/ M.Petrik__________
                                                     MICHAEL PETRIK, Jr.
6                                                    Assistant Federal Defender
                                                     Attorneys for Mr. Vera
7
8    DATED: September 28, 2016                       PHILLIP A. TALBERT
9                                                    Acting United States Attorney

10                                                   /s/ M.Petrik for_______
                                                     JASON HITT
11                                                   Assistant U.S. Attorney
12                                                 ORDER
13             The Court, having received, read, and considered the stipulation of the parties, and good
14   cause appearing, adopts the stipulation in its entirety as its order. It specifically finds that the
15   failure to grant a continuance in this case would deny defense counsel reasonable time necessary
16   for effective preparation, taking into account the exercise of due diligence. The Court further
17   finds that the ends of justice served by granting the continuance outweighs the best interests of
18   the public and defendant in a speedy trial. The status conference is hereby rescheduled for
19   October 20, 2016, at 10:00 a.m. Time from the date of the parties’ stipulation, up to and
20   including October 20, 2016, is excluded from computation of time within which the trial of this
21   case must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local
22   Code T4.
23             IT IS SO ORDERED.
24   Dated: September 29, 2016
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      Stipulation to Continue                          -2-                                          13-53 MCE
